            Case 1:21-cr-00254-RCL Document 52 Filed 01/21/22 Page 1 of 3

                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 21-cr-254 (RCL)
                                    :
v.                                  :
                                    :
FRANK SCAVO,                        :
                                    :
            Defendant.              :
____________________________________:

                         DEFENDANTS UNOPPOSED MOTION
                        TO CONTINUE SELF-SURRENDER DATE

       Defendant, Frank Scavo, and presents this Unopposed Motion to Continue is Self-

Surrender Date, and represents as follows:

       1.      On November 22, 2021 the Defendant appeared for sentencing after pleading

guilty to Count 4 of the Criminal Information: Parading, Demonstrating, or Picketing in a Capitol

Building in violation of 40 U.S.C. 5104 (e)(2)(G).

       2.      This Honorable Court sentenced the Defendant to 60 days of imprisonment with

no term of supervised release imposed.

       3.      The Defendant was recently notified by the Bureau of Prisons that he is to report

to the Federal Correctional Institute (FCI) Fort Dix on Tuesday, January 25, 2022.

       4.      The Defendant has been treating for kidney issues and blockages for a period of

time. Most recently, the Defendant underwent lithotripsy with only partial success. As a result,

he treated at Sloan-Kettering hospital in New York City and was advised that part of a kidney

stone entered his urethra and created a blockage. He was advised that if he did not undergo

immediate surgery he could develop sepsis.
             Case 1:21-cr-00254-RCL Document 52 Filed 01/21/22 Page 2 of 3




        5.      The Defendant underwent surgery on January 20, 2022 by Dr. Jerald Gilbert of

Geisinger Urology Center.

        6.      As a result of the surgery the Defendant will need time to recover and a follow-up

scan of his kidneys and the surgically repaired area of his body.

        7.      Dr. Gilbert has authored a letter dated January 18, 2022 advising that Defendant

will need at least one week off after surgery and then a revisit with the doctor. A copy of the

letter is attached hereto as Exhibit “A”.

        8.      On January 20, 2022 counsel for the government, Seth Adam Meinero, was

contacted and he is unopposed to a 30-day extension for Defendant to self-surrender to FCI Ft.

Dix.

        WHEREFORE, Defendant respectfully submits that for all of the above reasons,

Defendant’s self-surrender date should be continued from January 25, 2022 to February 21,

2022.

Dated: January 21, 2022                       Respectfully submitted,

                                              /s/ Ernest D. Preate
                                              Ernest D. Preate (Admitted Pro Hac Vice)
                                              204 Wyoming Avenue, Suite C
                                              Scranton, PA 18503
                                              Telephone: (570) 558-5970
                                              epreate@comcast.net

                                              /s/ Evan Corcoran
                                              M. Evan Corcoran (D.C. Bar No. 440027)
                                              Silverman, Thompson, Slutkin & White LLC
                                              201 N. Charles Street – 25th Floor
                                              Baltimore, MD 21201
                                              Telephone: (410) 385-2225
                                              ecorcoran@silvermanthompson.com

                                              Counsel for Defendant Frank Scavo


                                                 2
         Case 1:21-cr-00254-RCL Document 52 Filed 01/21/22 Page 3 of 3


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 21, 2022, I served a copy of this pleading on

counsel for the Government through the Court’s electronic case files system.

                                            /s/ Evan Corcoran
                                            M. Evan Corcoran (D.C. Bar No. 440027)




                                               3
